4:08-cr-03019-RGK-DLP       Doc # 47    Filed: 07/11/08    Page 1 of 2 - Page ID # 263




                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,    )
                             )
              Plaintiff,     )                              4:08CR3019
                             )
        v.                   )
                             )
CHRISTOPHER G. DIGIORGIO and )                            MEMORANDUM
DOMINICK C. DIGIORGIO,       )                             AND ORDER
                             )
              Defendants.    )

       As usual, Judge Piester has done a thorough and thoughtful job. After de novo
review, I see no reason to “gild the lily” by adding anything to the judge’s 35-page
report and recommendation. (Filing 42.) Even though the government (filing 46) and
Dominick C. DiGiorgio (filing 43) object to the report and recommendation
(obviously, for different reasons), Judge Piester has correctly stated the law and he
has correctly found the facts. 1 Therefore,

      IT IS ORDERED that:

      1.     The report and recommendation (filing 42) is adopted. The
             objections (filings 43 and 46) are denied.

      2.     Dominick DiGiorgio’s motion (filing 18) to suppress is denied.



      1
       Christopher G. DiGiorgio is going to win this one. That said, defense lawyers
should understand that the facts of this case as to Christopher are very unique. The
government’s sloppy advocacy didn’t help either. Thus, defense lawyers should be
careful about citing this case as authority for motions to suppress submitted on behalf
of passengers in other cases. If defense counsel ignore my warning, this footnote may
come back to bite them.
4:08-cr-03019-RGK-DLP   Doc # 47    Filed: 07/11/08   Page 2 of 2 - Page ID # 264




    3.    Christopher C. DiGiorgio’s motion (filing 20) to suppress is granted.

    July 11, 2008.                 BY THE COURT:

                                   s/Richard G. Kopf
                                   United States District Judge




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